       Case 8:25-cv-00951-PX            Document 151     Filed 05/20/25      Page 1 of 16



                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND
                                GREENBELT DIVISION


KILMAR ARMANDO ABREGO GARCIA,
et al.,

                          Plaintiffs,
          v.
                                                    Case No. 8:25-cv-00951 (PX)
KRISTI NOEM, Secretary of the Department of
Homeland Security, et al.,

                          Defendants.



 DEFENDANTS’ RESPONSE IN OPPOSITION TO PRESS MOVANTS’ MOTION TO
              INTERVENE AND UNSEAL COURT RECORDS

                                           BACKGROUND
       On April 15, the Court ordered expedited discovery limited to: “(1) the current physical

location and custodial status of Abrego Garcia; (2) what steps, if any, Defendants have taken to

facilitate Abrego Garcia’s immediate return to the United States; and (3) what additional steps

Defendants will take, and when to facilitate his return.” ECF No. 79 at 7. Plaintiffs served 15

interrogatories and 14 requests for production of documents, ECF No. 98-1, and Defendants

objected and responded, ECF No. 98-2. On April 22, 2025, the parties jointly filed a sealed request

for a conference with this Court. See ECF No. 98.2. The Court provided guidance on privilege

assertions and instructed Plaintiffs to narrow Interrogatory Nos. 9–11 and RFP Nos. 6–8, ECF No.

100. On April 23, 2025, the government filed a sealed motion to stay discovery for one week, see

ECF No. 101, and Plaintiffs filed a sealed response in opposition to the government’s motion, see

ECF No. 102. The Court, in an April 23, 2015 ruling , stayed discovery for one week based on

“agreement of the parties.” See Apr. 23, 2025 Order (ECF No. 103). On April 29, 2025, the

government filed another sealed motion to stay discovery, see ECF No. 104, which the Court
       Case 8:25-cv-00951-PX          Document 151        Filed 05/20/25      Page 2 of 16



denied, see ECF No. 106.         On May 6, 2025, the proposed Intervenors—fourteen news

organizations—moved to unseal the Court records in this case found at ECF Nos. 98, 101, 102,

104, 105, along with a transcript of the April 30, 2025 hearing referenced in ECF No. 106.

                                              DISCUSSION

       The Court placed highly sensitive judicial records under seal to preserve their sensitivity

and prevent significant harm if they were to be disclosed. Intervenors now seek access to obtain

and presumably disseminate these documents. Neither the First Amendment nor common law

entitles them to do so. The qualified right of access to judicial proceedings created by the First

Amendment does not extend to the present circumstances, as the discovery process in civil cases

has not historically been open to the press and public. Moreover, even if the news organizations

enjoyed a First Amendment right of access to the discovery process, which they do not, that right

does not extend to the inspection and publication of a hearing transcript containing classified, ex

parte information or to highly sensitive documents which no party disputes are entitled to

attorneys’-eyes-only protection under ECF No. 105. To the contrary, courts have consistently

undertaken to protect classified and other highly sensitive information through sealing orders and

other protective orders – as this Court has provisionally done in this case consistent with the law

on the right of access.

       The intervenors’ efforts to pry into highly sensitive matters fares no better under the

common law. The default presumption of access is subject to a balancing test in which access

may be denied if, as is the case here, a countervailing interest overcomes it. As courts have

consistently recognized, there is no more compelling or substantial interest the United States

possesses than protection of national security and classified information. The government’s

compelling interest in protecting the sealed information in this case from disclosure plainly



                                                 2
        Case 8:25-cv-00951-PX         Document 151        Filed 05/20/25      Page 3 of 16



outweighs any asserted public right of access, and the same goes for the protection of sensitive

but non-classified information disclosed as part of the discovery process where disclosure might

adversely affect the outcome of the case. The Intervenors’ arguments do nothing to suggest

otherwise. At the same time, the rules and procedures governing this case already provide broad

public access to the proceeding, including publicly available briefs, hearings, and opinions,

which are sufficient to inform the public how this case is decided and to satisfy the “citizen’s

desire to keep a watchful eye on the workings of” this Court. See Nixon v. Warner

Communications, Inc., 435 U.S. 589, 597-98 (1978). Accordingly, the material sought by the

news organizations is properly sealed, and they fail to demonstrate any right to obtain it.

   I.      Legal Overview
        The public’s right of access to the courts and court records “springs from the First

Amendment and the common-law tradition.” Doe v. Pub. Citizen, 749 F.3d 246, 265 (4th Cir.

2014). “[T]he strength of the right of access varies depending on whether the public’s right of

access to the document or proceeding derives from the common law or the First Amendment.”

United States v. Doe, 962 F.3d 139, 145 (4th Cir. 2020). “Under the First Amendment, the

denial of access must be necessitated by a compelling government interest and narrowly tailored

to serve that interest.” Rushford v. New Yorker Magazine, Inc., 846 F.2d 249, 253 (4th Cir.

1988). The more rigorous First Amendment standard typically applies to documents filed in

connection with plea hearings and sentencing hearings in criminal cases, and documents filed in

connection with a summary judgment motion in a civil case. Id.

        Separately if relatedly, under the common law, there is a “presumption of access . . .

[which] can be rebutted if countervailing interests heavily outweigh the public interests in

access.” Rushford, 846 F.2d at 253. The mere existence of a common law right of access to a

particular kind of document does not entitle the press and the public to access in every case. Id.

                                                 3
         Case 8:25-cv-00951-PX         Document 151        Filed 05/20/25       Page 4 of 16



Importantly, the common law does not afford as much substantive protection to the interests of

the press and the public as does the First Amendment. Id.

   II.       The Court Did Not Abuse its Discretion in Provisionally Sealing the Documents
             in Question.
         A district court “has supervisory power over its own records and may, in its discretion,

seal documents if the public’s right of access is outweighed by competing interests.” In re

Knight Pub. Co., 743 F.2d 231, 235 (4th Cir. 1984). Ordinarily, “before a district court may seal

any court documents, it must (1) provide public notice of the request to seal and allow interested

parties a reasonable opportunity to object, (2) consider less drastic alternatives to sealing the

documents, and (3) provide specific reasons and factual findings supporting its decision to seal

the documents and for rejecting the alternatives.” Ashcraft v. Conoco, Inc., 218 F.3d 288, 302

(4th Cir. 2000) (citing Knight, 743 F.2d at 235-36; Stone v. Univ. of Md. Med. Sys. Corp., 855

F.2d 178, 181 (4th Cir. 1988)). The Fourth Circuit has stated that in entering a sealing order, “a

judicial officer may explicitly adopt the facts that the government presents to justify sealing

when the evidence appears creditable.” Media Gen. Operations, Inc. v. Buchanan, 417 F.3d 424,

430 (4th Cir. 2005) (internal citations and quotations omitted). Moreover, “if appropriate, the

government's submission and the officer's reason for sealing the documents can be filed under

seal.” Id.

         A motion to seal must comply with Local Rule 105.11, which provides:

                Any motion seeking the sealing of pleadings, motions, exhibits, or other
                documents to be filed in the Court record shall include (a) proposed
                reasons supported by specific factual representations to justify the sealing
                and (b) an explanation why alternatives to sealing would not provide
                sufficient protection. The Court will not rule upon the motion until at least
                fourteen (14) days after it is entered on the public docket to permit the
                filing of objections by interested parties. Materials that are the subject of
                the motion shall remain temporarily sealed pending a ruling by the Court.
                If the motion is denied, the party making the filing will be given an


                                                  4
       Case 8:25-cv-00951-PX           Document 151        Filed 05/20/25       Page 5 of 16



               opportunity to withdraw the materials. Upon termination of the action,
               sealed materials will be disposed of in accordance with L.R. 113.

Loc. R. 105.11 (D. Md. 2023).

       Here, the Court permitted “provisional sealing” of the documents in question for “the

early stages of this case to accommodate its expedited nature and to safeguard sensitive

information.” Briefing Schedule Order, May 7, 2025, Docket 8:25-cv-00951, Entry 115, at 2.

This was appropriate given the nature of the proceedings and the compelling governmental

interest in protecting foreign affairs and national security and preventing the dissemination of

then-classified information.1 However, the Court stated that, going forward, “the parties must

now strictly comply with the Court’s Local Rules governing sealed filings.” Id. “Ultimately,

under the common law[,] the decision whether to grant or restrict access to judicial records or

documents is a matter of a district court’s ‘supervisory power,’ and it is one ‘best left to the

sound discretion of the [district] court.’” Sky Angel U.S., LLC v. Discovery Commc’ns, LLC, 28

F. Supp. 3d 465, 488 (D. Md. 2014), aff’d, 885 F.3d 271 (4th Cir. 2018) (citations omitted).

Given the expedited nature and sensitive information involved, the Court did not abuse its

discretion in provisionally sealing the documents in question. See Stone, 855 F.2d at 180 (“[A]

court’s denial of access is reviewable only for abuse of discretion”); see also U.S. v. Morgan,

962 F.2d 8 (4th Cir. 1992). Additionally, the Court’s decision to seal is fully consistent with the

case law on the right of access.




1
  Certain production in the case was originally classified and had been lodged with the Court.
However, that information since been declassified, and the information has been deemed
“Attorneys’-Eyes-Only" consistent with the Court’s protective order. Accordingly, the material
remains sensitive and protected. However, the contents of hearings have not been declassified
and should remain protected.
                                                  5
       Case 8:25-cv-00951-PX           Document 151        Filed 05/20/25      Page 6 of 16



   III.      The First Amendment Does Not Provide a Right of Access to the Requested
             Judicial Records and Documents

          “[T]he First Amendment guarantee of access has been extended only to particular

judicial records and documents—namely, plea hearings and sentencing hearings in criminal

cases, and documents filed in connection with a summary judgment motion in a civil case. See

Stone v. Univ. of Maryland Med. Sys. Corp., 855 F.2d 178, 180 (4th Cir. 1988) (“Stone I”);

Rushford, 846 F.2d at 253.

          “When the First Amendment provides a right of access, a district court may restrict

access ‘only on the basis of a compelling governmental interest, and only if the denial is

narrowly tailored to serve that interest.’” Virginia Dep't of State Police v. Washington Post, 386

F.3d 567, 575 (4th Cir. 2004) (quoting Stone I, 855 F.2d at 180.) “The burden to overcome a

First Amendment right of access rests on the party seeking to restrict access, and that party must

present specific reasons in support of its position.” Id. (citing Press–Enterprise Co. v. Superior

Court, 478 U.S. 1, 15 (1986) (“The First Amendment right of access cannot be overcome by [a]

conclusory assertion”)).

          Intervenors argue that the First Amendment requires that the judicial records and

documents in question be unsealed because the parties have failed to demonstrate a compelling

interest in keeping the requested judicial records and documents under seal. Memorandum of

Law in Support of Press Movants Motion (“Memorandum”) at 7-8. But, as shown below, they

fail to make a threshold showing that the First Amendment provides a right of access to the

requested judicial records and documents. Regardless, there is a compelling governmental

interest in keeping the requested judicial records and documents under seal.




                                                  6
        Case 8:25-cv-00951-PX         Document 151         Filed 05/20/25      Page 7 of 16



        A.     Intervenors Failed to Demonstrate a First Amendment Right of Access to the
               Requested Judicial Records and Documents

        The First Amendment guarantees access when (1) “the place and process have

historically been open to the press and general public” and (2) “public access plays a significant

positive role in the functioning of the particular process in question.” Press–Enterprise Co. v.

Superior Ct., 478 U.S. 1, 8 (1986) (“Press–Enterprise II”); see Baltimore Sun Co. v. Goetz, 886

F.2d 60, 64 (4th Cir. 1989) (applying Press-Enterprise II). Intervenors seek access to judicial

records and documents that relate to the scope and process of discovery. Memorandum at 5.

Applying the Press-Enterprise II test demonstrates that Intervenors do not have a First

Amendment right of access to the requested judicial records and documents as there is both a

lack of historical access and a significant positive role in open access to the materials Intervenors

seek.

               1.      Intervenors Fail to Demonstrate a Historical Practice of Access to the
                       Requested Judicial Records and Documents

        Intervenors have not put forth any argument that discovery has been historically open to

the press and public. They cannot do so because discovery has not historically been open to the

press and public. See United States v. Kravetz, 706 F.3d 47, 54 (1st Cir. 2013) (“[T]here is no

tradition of access to criminal discovery”); In re Reporters Comm. for Freedom of the Press, 773

F.2d 1325, 1336 (D.C. Cir., 1985) (right of access to civil discovery document not supported by

experience); United States v. Tomison, 969 F. Supp. 587, 595 (E.D. Cal. 1997) see also United

States v. Smith, 985 F. Supp. 2d 506, 519-20 (S.D.N.Y. 2013) (compiling cases). Thus, there is

not a history of having the discovery process or discovery material open to the press and public.




                                                  7
       Case 8:25-cv-00951-PX          Document 151        Filed 05/20/25      Page 8 of 16



               2.      Intervenors Fail to Demonstrate a Significant Positive Role in Access
                       to the Requested Judicial Records and Documents
       Intervenors likewise have not put forth any argument that public access plays a

significant positive role in the discovery process. They cannot do so because public access plays

a significant negative role in the discovery process. As the Fourth Circuit has explained,

discovery, “which is ordinarily conducted in private, stands on a wholly different footing than

does a motion filed by a party seeking action by the court.” Rushford, 846 F.2d at 252 (internal

quotation marks omitted); see United States v. Anderson, 799 F.2d 1438, 1441 (11th Cir. 1986)

(“If ... discovery information and discovery orders were readily available to the public and the

press, the consequences to the smooth functioning of the discovery process would be severe”); In

re Reporters Comm. for Freedom of the Press, 773 F.2d at 1336 (“they are not greatly enhanced

by access to documents … before judgment rather than after”); see also Smith, 985 F. Supp. 2d at

520 (compiling cases). Thus, there is no evidence that public access plays a significant positive

role in the discovery process.

       Accordingly, Intervenors failed to demonstrate that experience and logic requires access

to the requested sensitive judicial records and documents. Press–Enterprise II, 478 U.S. at 8.

Intervenors’ reliance on Minter v. Wells Fargo Bank, N.A., 258 F.R.D. 118 (D. Md. 2009), is

misplaced because the Court there failed to apply the requirements of Press–Enterprise II. See

Goetz, 886 F.2d at 64. Therefore, the Minter Court’s conclusory assumption is not supported by

the holdings and rationale of the Supreme Court or the Fourth Circuit. Indeed, that assumption

was criticized in Kinetic Concepts, Inc. v. Convatec Inc., 2010 WL 1418312 at 10 n. 13

(M.D.N.C. Apr. 2, 2010) (not precedential), noting “research has revealed no circuit-level

decisions holding that a public access right applies to materials filed in connection with

discovery motions.”


                                                 8
       Case 8:25-cv-00951-PX          Document 151         Filed 05/20/25      Page 9 of 16



       Therefore, Intervenors have failed to demonstrate a First Amendment right of access to

the requested judicial records and documents. As such, this Court need not consider the question

of whether a compelling governmental interest exists. See Immigration & Naturalization Serv. v.

Bagamasbad, 429 U.S. 24, 25 (1976).

       B.      Regardless, there is a Compelling Governmental Interest in Keeping the
               Requested Judicial Records and Documents Under Seal

       Even if the Court considers the matter further, Intervenors are still not entitled to access

the requested judicial records and documents because there is a compelling governmental

interest—protecting national security and preventing the dissemination of sensitive

information—in keeping sensitive information under seal. See Central Intelligence Agency v.

Sims, 471 U.S. 159, 175 (1985) (“The government has a compelling interest in protecting both

the secrecy of information important to our national security and the appearance of

confidentiality so essential to the effective operation of our foreign intelligence service”)

(quotation omitted); Haig v. Agee, 453 U.S. 280, 307 (1981) (“[N]o governmental interest is

more compelling than the security of the Nation.”); see also El-Masri v. United States, 479 F.3d

296, 305 (4th Cir. 2007) (“In assessing the risk that such a disclosure might pose to national

security, a court is obliged to accord the ‘utmost deference’ to the responsibilities of the

executive branch.”); United States v.. Moussaoui, 65 Fed. Appx. 881, 887 (4th Cir. May 13,

2003) (not precedential) (“[T]here can be no doubt that the Government's interest in protecting

the security of classified information is a compelling one.”) (citing Dep’t of Navy v. Egan, 484

U.S. 518, 527 (1988)).

       At the same time, the rules and procedures governing this case already provide the public

with broad access to the proceeding, with publicly available briefs, oral arguments, and opinions.

These comprehensive procedures are sufficient to inform the public how this case is decided and

                                                  9
         Case 8:25-cv-00951-PX          Document 151        Filed 05/20/25      Page 10 of 16



to satisfy the “citizen’s desire to keep a watchful eye on the workings of” this Court. Nixon v.

Warner Communications, Inc., 435 U.S. 589, 597-98 (1978). In sum, the relevant interests are

best served by the procedures currently in place that seal sensitive material presented to this

Court.

          Further, the sealing is narrowly tailored to achieve that interest. The requested judicial

records include unclassified but sensitive information, and redactions to avoid divulging this

information would be burdensome, and it is unclear that the sensitive information could readily

be disentangled from non-sensitive information such that redactions would be a feasible less

restrictive approach to protecting the sensitive information. Therefore, no less reasonable

alternative than continued sealing will protect the Government's interest in preventing the

unauthorized dissemination of this information. See In re Nat’l Sec. Letter, 33 F.4th 1058, 1072

(9th Cir. 2022), citing Dep’t of the Navy, 484 U.S. 518, 527; (noting that keeping sensitive

information confidential in order to protect national security is a compelling government

interest); see also Williams-Yulee v. Fla. Bar, 575 U.S. 433 (2015) (“The First Amendment

“requires that [the speech restriction] be narrowly tailored, not that it be ‘perfectly tailored.”).

          Therefore, there is a compelling governmental interest in keeping the sensitive

information under seal. Intervenors do not have a First Amendment right to the requested

judicial records and documents. And even if they did, the government’s interest in national

security is compelling, and sealing that information is narrowly tailored to achieve that interest.

    IV.      Any Common Law Presumption of Access Intervenors Have to the Requested
             Judicial Records is Outweighed by the United States’s Compelling Interest in
             Protecting National Security Information
          The Intervenors’ request to unseal the challenged filings and presumably publish their

contents to the world must be rejected. The five challenged sealed filings all contain sensitive

national security and foreign affairs information worthy of protection. Cf. generally Classified

                                                   10
      Case 8:25-cv-00951-PX           Document 151         Filed 05/20/25     Page 11 of 16



Information Procedures Act (“CIPA”) § 1 (defining “classified information” as “any information

or material that has been determined by the United States Government pursuant to an Executive

order, statute, or regulation, to require protection against unauthorized disclosure for reasons of

national security); Exec. Order No. 12,958 § 1.3(a)(1)-(3), 60 Fed.Reg. 19,825, 19,826 (Apr. 17,

1995); 28 C.F.R. § 17.21; see also United States v. Smith, 750 F.2d 1215, 1217 (4th Cir. 1984)

(“[T]he government ... may determine what information is classified. A defendant cannot

challenge this classification. A court cannot question it.”).

       Analogously, the government has a compelling interest in protecting classified

information.2 “There can be no doubt that the Government's interest in protecting the security of

classified information is a compelling one. United States v. Moussaoui, 65 F. App'x 881, 887

(4th Cir. 2003), citing Dep't of Navy v. Egan, 484 U.S. 518, 527 (1988); see also United States v.

Al–Arian, 267 F.Supp.2d 1258, 1266–67 (M.D.Fla. 2003) (“This Court cannot think of a more

compelling or substantial interest that the United States possesses than protection of classified

information.”); Haig v. Agee, 453 U.S. 280, 307 (1981)(“[N]o governmental interest is more

compelling than the security of the Nation.”). The government’s compelling interest in

protecting the sensitive information in this case from disclosure outweighs any generic public

right of access. See Nixon, 435 U.S. at 598 (common law right of access may be outweighed by

important competing interests); United States v. Aref, No. 04 CR 402, 2006 WL 1877142, at *1

(N.D.N.Y. July 6, 2006) (finding that the Government's interest in protecting the national

security and preventing the dissemination of classified information outweighed the public's right

of access to these materials). As discussed supra, III. B, there is a compelling governmental



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  As noted, while some documents were declassified and then produced to Plaintiffs as
attorneys’-eyes-only production protected under the protective order, other evidence orally
provided to the Court ex parte has not been declassified.
                                                 11
      Case 8:25-cv-00951-PX              Document 151     Filed 05/20/25      Page 12 of 16



interest in maintaining the seal on those records. See, e.g., Sims, 471 U.S. 159, 175 (1985) (“The

government has a compelling interest in protecting both the secrecy of information important to

our national security and the appearance of confidentiality so essential to the effective operation

of our foreign intelligence service”).

       Indeed, the Court placed the information under seal to preserve its secrecy. Before doing

so, the Court weighed the interests advanced by the parties in light of the public interests and the

duty of the courts. See ECF Nos. 98, 101-103, 105; Rushford, 846 F.2d 249, 253. cf. Stone, 855

F.2d at 182 (noting that district court has “superior vantage point” from which to make decisions

regarding sealing of materials before it). The Intervenors now seek to supersede the Court’s

informed determination based on a pro forma assertion of a right of public access. They offer

little more than garden-variety rationales for why public access to these documents is

purportedly needed, instead relying heavily on the common law default presumption. See

Motion at 8-9 (“The common law right of access applies to them and they are presumptively

public.”); (“[b]ecause the common law right of access applies to the Sealed Records, the public

has a powerful interest in accessing them.”). Citing Rushford, 846 F.2d at 253, the Intervenors

assert that “the party seeking to overcome the presumption bears the burden of showing some

significant interest that outweighs the presumption.” Memorandum at 9. Yet they fail to grapple

with the weight of available authority cited above that establishes that the government’s interest

in protecting sensitive national security information from public dissemination can be not only a

“significant interest,” but a compelling one. See Moussaoui, 65 F. App'x at 887; Dep't of Navy v.

Egan, 484 U.S. at 527; Haig v. Agee, 453 U.S. at 307. Although the challenged materials are not

classified, the common law right of access is subject to a balancing test and does not entitle the

press and the public to access in every case. Rushford v. New Yorker Mag., Inc., 846 F.2d at



                                                 12
      Case 8:25-cv-00951-PX           Document 151         Filed 05/20/25      Page 13 of 16



253. But given the compelling government interest in protecting national security and foreign

affairs and preventing the dissemination of sensitive information that might adversely affect the

litigation, the default presumption of access is easily rebutted in these circumstances. The

Intervenors should await those contexts where their right of access are pertinent considerations,

by which time the Parties will have done much to provide greater insight into the propriety of

further restriction on access. The only particularized rationale the Intervenors posit for public

disclosure of the sealed records is one of process—that is, they wish to understand why the five

docket entries seemingly reflect changes in the Court’s and parties’ positions concerning the

pace of discovery. The public utility of accessing this information, they assert, is a promoted

“understanding [of] the system in general and its workings in [this] particular case.”

Memorandum at 9. Intervenors’ curiosity does not outweigh the national security and foreign

affairs interests in keeping the sealed material sealed. As with any district court case, the

procedural maneuverings are highly fact-driven and circumstance specific. Indeed, as to the

April 23, 2025 under-seal hearing, the Court’s procedural rulings were responsive to, and

inextricably intertwined with, the substance of the classified information presented to the Court

by a government witness. Particularly with respect to the requested transcript of the Court’s

April 30 hearing on that motion (referenced in ECF No. 106), the Intervenors implicitly ask the

Court to take a course of action that is not within its province to take. “It is not the province of

the judiciary . . . to determine whether a source or method should be (or should not be)

disclosed.” Fitzgibbon v. C.I.A., 911 F.2d 755, 762 (D.C. Cir. 1990), citing Sims, 471 U.S. 159,

167 (1985). The case against disclosure is also further enhanced by the fact that the Court

entered a protective order, ECF 95, designating materials as confidential or even attorneys’-eyes-

only, to allow the parties to litigate this dispute while ensuring that implicated information may



                                                  13
      Case 8:25-cv-00951-PX           Document 151        Filed 05/20/25       Page 14 of 16



remain under seal. See Cape Fear Pub. Util. Auth. v. Chemours Co. FC, LLC, No. 7:17-CV-

00195-D, 2024 WL 2027377, at *2 (E.D.N.C. May 7, 2024) (“In light of the Stipulation and

Order designating materials as confidential, the court concludes that the interests in maintaining

the restricted nature of the documents heavily outweighs the public's interest in having access to

these documents” and “finds that there is no alternative short of sealing these documents to

safeguard the interests at issue.”). Thus, any promoted understanding of the court system is

clearly outweighed by the most paramount countervailing interest—the security of the Nation.

Haig v. Agee, 453 U.S. 280, 307 (1981). Accordingly, the challenged records should remain

sealed and the Intervenors’ request should be denied. See In re U.S. for an Ord. Pursuant to 18

U.S.C. Section 2703(D), 707 F.3d 283, 293–94 (4th Cir. 2013) (determining common law

presumption of access was outweighed by govt’s interest in continued sealing where challenged

records implicated Government's interests in maintaining the secrecy of its investigation,

preventing potential subjects from being tipped off, or altering behavior to thwart the

Government's ongoing investigation, outweighed those interests); Moussaoui, 65 F. App’x at 887

(“We therefore conclude that all classified information filed with this court in relation to this

appeal will remain under seal.”).

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                                                 14
     Case 8:25-cv-00951-PX        Document 151        Filed 05/20/25     Page 15 of 16




                                        CONCLUSION

      For the foregoing reasons, the Court should deny the Intervenors’ motion to intervene and

unseal Court records.


                                            Respectfully submitted,

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Dated: May 20, 2025                         Counsel for Defendants




                                             15
      Case 8:25-cv-00951-PX         Document 151       Filed 05/20/25    Page 16 of 16



                                CERTIFICATE OF SERVICE

       I certify that on May 20, 2025, I caused to be filed the foregoing document via CM/ECF,

which caused a copy to be served on all parties.



                                              s/Drew C. Ensign
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                                               16
